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                            EXHIBIT E
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Attorneys for Defendant
JETBLUE AIRWAYS CORPORATION

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


 REGINA CANELA,
                                                      Case No.:
                       Plaintiff,
        -against-                                     DECLARATION OF DEVINA
                                                          DEWNARAYAN
 JETBLUE AIRWAYS CORPORATION,

                       Defendant.
                                                              ECF CASE

       I, Devina Dewnarayan, hereby declare under penalty of perjury that the foregoing is true
and correct:

   1. I am an employee at JetBlue Airways Corporation (hereinafter “JetBlue”) in the position

of Analyst, Litigation Legal. I submit this Declaration based upon my review of the records

maintained by JetBlue in the ordinary course of its business, true and accurate copies of which

are attached hereto.

   2. Based upon my review of JetBlue’s business records, on September 15, 2018, Plaintiff

was scheduled to fly from JFK International Airport in Queens, New York (‘JFK Airport”) to

Cibao International Airport (“Santiago Airport”), in the Dominican Republic on JetBlue Flight

2837.

   3. A true and accurate copy of JetBlue’s Passenger Name Record for Plaintiff’s flight on

September 15, 2018 is attached hereto as Exhibit A.
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   4. On November 9, 2018, Plaintiff was scheduled to fly from Santiago Airport, Dominican

Republic to JFK Airport in New York on JetBlue Flight 1536.


   5. A true and accurate copy of JetBlue’s Passenger Name Record for Plaintiff’s flight on

November 9, 2018 is attached hereto as Exhibit B.


   6. JetBlue has no record of any other flights undertaken by Plaintiff during the period of

September through December 2018.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct.


                28 2021
Dated: December __,


                                             ____________________
                                               Devina Dewnarayan




                                                2
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                             EXHIBIT A
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HEADER
CYKNAN 2018/10/15 -- 0000 2018/07/22 1251 5 RH5 042 NIH 001 000 NIH 001

1CANELA/REGINA MISS

 B6 2837P 2018/09/15 J JFK STI HK 01 1315 1657            HRS /E

TKT/TIME LIMIT
T-25AUG-OFC5KLN
TE 2792105528498 CANEL/R NIH5RH5 1351/22JUL
TE 2792108029152 CANEL/R OFC5KLN 1412/25AUG

PHONES




PRE-RESERVED SEATS
B6 2837P 15SEP2018 JFK        STI    HK 12B NL        1.1

FREQUENT TRAVELER ITEM
B6 2081166556                   HK B6 NN 1.1

UPGRADE LIST


PASSENGER PROFILE



ADDRESS




PROFILE INDEX DATA


HOST FACTS
SSR   DOCS B6 HK1 /P/US/509917950/US/19APR1954/F/19MAY2023/CANELA/REGINA 1.1
SSR   PCTC B6 HK
OSI      NOTIFY TDP/R/20180722175144/EMAIL/CNF/1.1/
OSI      LANG TDP/EN/
SSR   BRND B6 NN1 /CN
SSR   TKNE B6 HK1 .2792105528498C1 1.1
SSR   TKNE B6 HK1 .2792108029152C1 1.1
OSI      NOTIFY INR/H/20180825161420/EMAIL/CNF/ALL/
SSR   FEEB B6 2837P15SEP/OLD BAG FEES APPLY NN1 1.1
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S-   1105 2018/09/15
A5H H-SSDK/BAG/JFKSTI15SEP/BAG1.1
R-JFKNIH5RH7

S-   1105 2018/09/15
A5H H-SSDK/TXT/TIMATIC - TIMATIC OK - N1.1/15SEP2018/B62837/JFK
R-JFKNIH5RH7

S-   1104 2018/09/15
X4S SSR DOCS B6 /P/US/                /US/           /F/19MAY2023/CANELA/REGINA
A4S SSR DOCS B6 /P/US/                /US/           /F/19MAY2023/CANELA/REGINA
R-JFKNIH5RH7

S-   1104 2018/09/15
A5H H-SSDK/TXT/TIMATIC - TIMATIC OK - N1.1/15SEP2018/B62837/JFK
R-JFKNIH5RH7

S-   1102 2018/09/15
A4S SSR PCTC B6 DECLINED
R-JFKNIH5RH7

S-   1102 2018/09/15
X4S SSR DOCS B6 /DB/19APR54/F/CANELA/REGINA
A4S SSR DOCS B6 /P/US/         /US/         /F/19MAY2023/CANELA/REGINA
R-JFKNIH5RH7

S-   1102 2018/09/15
A5H H-IMPORTANT CHANGES TO TSA SCREENING EMAIL SENT TO
A5H H                             ON 14 SEP 2018.
R-HDQHDQ8RB1

S-   1510 2018/09/14
A5H H-OLD BAG FEES APPLY
A4S SSR FEEB B6 2837P15SEP/OLD BAG FEES APPLY NN1
R-HDQHDQ4INT

S-   2037 2018/08/27
A9   OFC 5165289276-S RAMON
R-OFCOFC5KLN

S-   1514 2018/08/25
A4O OSI    NOTIFY INR/H/20180825161420/EMAIL/CNF/ALL/
R-OFCOFC5KLN

S-   1514 2018/08/25
A4G B6 2837P 15SEP2018 JFK STI SS 12B NL
R-OFCOFC5KLN

S-   1514 2018/08/25
A5H H-BH CUC WV CHG FEE DUE TO DEATH IN FAMILY COLLECT DIFF IN
A5H H-FARE CG66403 8/25
R-OFCOFC5KLN

S-    1512 2018/08/25
    Case 1:22-cv-00004-FB-RER Document 1-5 Filed 01/03/22 Page 8 of 13 PageID #: 41
A5H H-RISK MGNT/ALLOW/5FB7A40E-944D-4DA7-B664-3D076A471FA7
R-OFCOFC5KLN

S-   1512 2018/08/25
A5H H-AUTH-PSS/CA4928/25AUG/xxxxxxxxxxxx35431068
A5H H- AUTH-APV/06424Z/00/USD7.00
A5H H- AUTH-AVS SUCCESS-Z/ZIP/POSTAL MATCH/ADDRESS FAIL/Z
A5H H- AUTH-CSC MATCHED/M
A4S SSR TKNE B6 JFKSTI2837P15SEP.2792108029152C1
X7   T-22JUL-NIH5RH5
A7   T-25AUG-OFC5KLN
R-OFCOFC5KLN

S-   1512 2018/08/25
XS   B6 2837P 2018/08/27 JFK STI HK 01 1329 1715 HRS /E
AS   B6 2837P 2018/09/15 JFK STI SS 01 1315 1657 /E
X4G*B6 2837P 27AUG2018 JFK STI HK 12C NLA
X4S* SSR BRND B6 JFKSTI2837P27AUG/CN
X4S* SSR IBAG B6 2837P27AUG/NN1
X4S* SSR TKNE B6 JFKSTI2837P27AUG.2792105528498C1
A4S SSR BRND B6 JFKSTI2837P15SEP/CN
A4S SSR TKNE B6 JFKSTI2837P15SEP.2792105528498C1
R-OFCOFC5KLN

S-   1511 2018/08/25
A5H H-RISK MGNT/ALLOW///0006929F-72D4-423C-926D-1150BE3DC6C8
R-NIHNIH5RH5

S-   1251 2018/07/22
A4O OSI    NOTIFY TDP/R/20180722175144/EMAIL/CNF/1.1/
A4O OSI    LANG TDP/EN/
R-NIHNIH5RH5

S-   1251 2018/07/22
A4S SSR TKNE B6 JFKSTI2837P27AUG.2792105528498C1
X7   TAW23JUL/
A7   T-22JUL-NIH5RH5
AT   W$VCR$F*XXXXXXXXXXXXXX4928/XXXX*Z04043Z
R-NIHNIH5RH5

S-   1251 2018/07/22
AW   N/RAMON A CANELA



A5F -TBM*XXXXXXXXXXXXXX4928$XXXXX
A5H H-AUTH-AVS SUCCESS-Z/ZIP/POSTAL MATCH/ADDRESS FAIL/Z
A5H H-B$A/
A5H H-AUTH-APV/04043Z/00/USD192.70
A5H H-AUTH-PSS/CA4928/22JUL/xxxxxxxxxxxx95628576
A5H H-AUTH-CSC MATCHED/M
R-NIHNIH5RH5

S-   1251 2018/07/22
A4G B6 2837P 27AUG2018 JFK STI SS 12C NLA
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R-NIHNIH5RH5

S-   1251 2018/07/22

PRICE RETENTION


QUEUE HISTORY
CURRENTLY   ON QUEUE
ON NIH      0009/007          2018/07/22   1251   PLACED BY NIH     RH5
OFF OGK     0101/             2018/09/15   1112   REMOVED BY OGK     Y73-QR
ON OGK      0101/011          2018/09/15   1108   PLACED BY HDQ     9C5
OFF OGK     0101/             2018/09/15   1106   REMOVED BY OGK     Y73-QR
DUP OGK     0101/011          2018/09/15   1105   NO ADD BY NIH     RH7
DUP OGK     0101/011          2018/09/15   1105   NO ADD BY NIH     RH7
DUP OGK     0101/011          2018/09/15   1105   NO ADD BY NIH     RH7
DUP OGK     0101/011          2018/09/15   1104   NO ADD BY NIH     RH7
DUP OGK     0101/011          2018/09/15   1104   NO ADD BY NIH     RH7
DUP OGK     0101/011          2018/09/15   1102   NO ADD BY NIH     RH7
DUP OGK     0101/011          2018/09/15   1102   NO ADD BY NIH     RH7
ON OGK      0101/011          2018/09/15   1102   PLACED BY NIH     RH7
OFF OGK     0101/             2018/09/14   1518   REMOVED BY OGK     Y73-QR
ON OGK      0101/011          2018/09/14   1510   PLACED BY HDQ     RB1
OFF OGK     0101/             2018/08/27   2116   REMOVED BY OGK     Y73-QR
ON OGK      0101/011          2018/08/27   2037   PLACED BY HDQ     INT
OFF OGK     0101/             2018/08/25   1515   REMOVED BY OGK     Y73-QR
ON OGK      0101/011          2018/08/25   1514   PLACED BY OFC     KLN
OFF OGK     0101/             2018/08/25   1514   REMOVED BY OGK     Y73-QR
DUP OGK     0101/011          2018/08/25   1514   NO ADD BY OFC     KLN
DUP OGK     0101/011          2018/08/25   1514   NO ADD BY OFC     KLN
DUP OGK     0101/011          2018/08/25   1512   NO ADD BY OFC     KLN
DUP OGK     0101/011          2018/08/25   1512   NO ADD BY OFC     KLN
DUP OGK     0101/011          2018/08/25   1512   NO ADD BY OFC     KLN
OFF XTM     0450/             2018/08/25   1512   REMOVED BY OFC     KLN-ET
ON OGK      0101/011          2018/08/25   1511   PLACED BY OFC     KLN
ON XTM      0450/             2018/08/25   1511   PLACED BY OFC     KLN
OFF OGK     0101/             2018/07/22   1252   REMOVED BY OGK     Y73-QR
DUP OGK     0101/011          2018/07/22   1251   NO ADD BY NIH     RH5
DUP OGK     0101/011          2018/07/22   1251   NO ADD BY NIH     RH5
DUP OGK     0101/011          2018/07/22   1251   NO ADD BY NIH     RH5
DUP OGK     0101/011          2018/07/22   1251   NO ADD BY NIH     RH5
DUP OGK     0101/011          2018/07/22   1251   NO ADD BY NIH     RH5
ON NIH      0009/007          2018/07/22   1251   PLACED BY NIH     RH5
ON OGK      0101/011          2018/07/22   1251   PLACED BY NIH     RH5

BAG TAG
PSGR#-001 REGINA MISS CANELA
PSGR#-001 RTE #-0001 STI   8279618131 BY - JFK           5RH7 1205/2018/09/15
STATUS-
RTE #-0001 B6 2837 STI

ERROR MESSAGES
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                             EXHIBIT B
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      B6 PNR MTFIBO Creation Date 20181019 Creation Time 1129

          1541789292401
          011 SEE REMARKS
      MTFIBO
       1.1CANELA/REGINA MS
       1 B61536P 09NOV F STIJFK HK1 1548 1835 HRS /E
      9STI/ A/C995 EQP321 *1956*HDQFTP
      2JFK/ETA 1817 *1113*HDQFTP
      TKT/TIME LIMIT
        1.T-19OCT-NIV5RH5
        2.TE 2792111557033 CANEL/R NIV5RH5 1229/19OCT
      VCR COUPON DATA EXISTS *VI TO DISPLAY
      PHONES
        1.NIV
      PASSENGER EMAIL DATA EXISTS *PE TO DISPLAY ALL
      ADDRESS
         N/RAMON A CANELA




      PRICE QUOTE RECORD EXISTS - *PQS
      FREQUENT TRAVELER
       1.                   HK B6 1.1 CANELA/REGINA MS
      PROFILE INDEX DATA EXISTS *PI TO DISPLAY ALL
      SEATS/BOARDING PASS
      1 1536P 09NOV STIJFK HK 11B N      1.1 CANELA/REGINA MS
      B6 FACTS
        PCTC DATA EXISTS - PLEASE USE *P4 TO VIEW
       1.SSR BRND B6 NN1 STIJFK1536P09NOV/CN
       2.SSR FOID B6 HK1/PPUS509917950
       3.SSR DOCS B6 HK1/P/US/509917950/US/19APR1954/F/19MAY2023/CAN
        ELA/REGINA
       4.SSR IBAG B6 1536P9NOV/NN1
       7.OSI NOTIFY TDP/R/20181019162922/EMAIL/CNF/1.1/
       8.OSI LANG TDP/EN/
       9.SSR WCHR NN1
      10.SSR DOCA B6 HK1/R/US
      REMARKS
       1.H-FARE/PUB/PL2AUEN6
       2.H-FARE/PUB/AMT/1ADT/110.00/106.13/216.13/USD
       3.H-SSWMOD-DT/2018/10/19-12-29/IP/209.164.62.0
       4.-TBM*CAXXXXXXXXXXXX4928 XXXXX
       5.H-AUTH-AVS SUCCESS-Z/ZIP/POSTAL MATCH/ADDRESS FAIL/Z
       6.H-B A/
       7.H-AUTH-APV/07605Z/00/USD216.13
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       8.H-AUTH-PSS/CA4928/19OCT/01311539966559600295
       9.H-AUTH-CSC SERVICE NOT SUPPORTED/S
      10.XXAUTH/07605Z *Z/CA4928
      11.XXTAW20OCT/
      12.H-RISK MGNT/ALLOW///DDC9C531-B1A3-4C62-B345-D6A6DC0AC96C
      13.H-INTL TSA SCREENING CHGS EMAIL SENT TO
      14.H-                                 ON 08 NOV 2018.
      BAGGAGE INFORMATION
      ROUTING-B6 1536 JFK
      CANELA/REGINA MS
       JFK B6 4279797590 - BY STI5IWU 1447/09NOV18
          BAG STATUS LMTD RLS
      RECEIVED FROM - TDPWEB
      NIV.NIH5RH5 1129/19OCT18 MTFIBO H

      A4S SSR DOCA B6 HK1/R/US -CANELA/REGINA MS
      R- STI5IWU
      STI STI5IWU 1247/09NOV18
      X4S SSR DOCS B6 HK1/DB/19APR54/F/CANELA/REGINA
         -CANELA/REGINA MS
      A4S SSR DOCS B6 HK1/P/US/509917950/US/19APR1954/F/19MAY2023/CA
         NELA/REGINA -CANELA/REGINA MS
      R- STI5IWU
      STI STI5IWU 1247/09NOV18
      A4S SSR WCHR NN1 -CANELA/REGINA MS
      R- STIIWU
      STI STI5IWU 1246/09NOV18
      A5H H-INTL TSA SCREENING CHGS EMAIL SENT TO
      A5H H-                               ON 08 NOV 2018.
      R- FIFTEENBELOW
      HDQ HDQ8RB1 1206/08NOV18
      A5H H-RISK MGNT/ALLOW///DDC9C531-B1A3-4C62-B345-D6A6DC0AC96C
      R- TDPWEB
      NIV NIH5RH5 1129/19OCT18
      A4O OSI NOTIFY TDP/R/20181019162922/EMAIL/CNF/1.1/
      A4O OSI LANG TDP/EN/
      R- TDPWEB
      NIV NIH5RH5 1129/19OCT18
      A4S SSR TKNE B6 HK1 STIJFK1536P09NOV/2792111557033C1
         -CANELA/REGINA MS
      X7 TAW20OCT/
      A7 T-19OCT-NIV5RH5
      AT W VCR F*CAXXXXXXXXXXXX4928/XXXX*Z07605Z
      R- TDPWEB
      NIV NIH5RH5 1129/19OCT18
      AW N/RAMON A CANELA
      AW A/
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      AW C/

      A5F -TBM*CAXXXXXXXXXXXX4928 XXXXX
      A5H H-AUTH-AVS SUCCESS-Z/ZIP/POSTAL MATCH/ADDRESS FAIL/Z
      A5H H-B A/
      A5H H-AUTH-APV/07605Z/00/USD216.13
      A5H H-AUTH-PSS/CA4928/19OCT/01311539966559600295
      A5H H-AUTH-CSC SERVICE NOT SUPPORTED/S
      R- TDPWEB
      NIV NIH5RH5 1129/19OCT18
      A4G 1536P 09NOV STIJFK NN/SS 11B N -CANELA/REGINA MS
      R- TDPWEB
      NIV NIH5RH5 1129/19OCT18



      EMAIL ADDRESS
       1.                               1.1 CANELA/REGINA
